 

UNITED STATES DISTRICT COURT F l L E n
l"OR THE MIDDLE DISTRICT GF TENNES§!EEAUG |5 PH 2. 01
NASHVILLE DIVISION

U.S. DiSTRlCT CDURT

SHAWNELLIAS BURGESS, CASE NO. H'DDL€ DlSTR\CT OF TN
PLAINTIFF,
v.
ALLY BANI< COMPLAINT FOR CIVIL
DAMAGES
DEFENDANT. ]URY DEMAND

]URISDICTION AND VENUE

l) THls couRT HAs sUB}EcT MATTER }URISDICTICN oven TH£ PLAINTlrr's cLAIMs
PURSUANT To 28 U.S.C. § 1331, 28 U.S.C. § 1441 (A) & (B), 15 U.S.C. §
1681(P), AND 15 U.S.C. § 1691(E).

2) VENU£ IN TH£ MIDDLE DIsTRlCT or TENN£ssE£ ls PRoPER PURSUANT To 28
U.S.C. § 1391 (B) & (c).

PLAINTIFF
3) PLAlNTlF, SHAWN£LLIAS BURGESS, ls A cITIzEN 0F THF. sTATE or T£NNESSEE.
DEFENDANT

4) ALLY BANK ls A UNIT or ALLY FlNANclAL, H£ADQUART£RED IN DETRoIT,
MICHIGAN, WchH BECAME A BANK HOLDING coMPANY IN DECEMB£R 2008.
TH£ BANK ls Hl-;ADQUARTER£D lN MIDVALE, UTAH.

SERVICE OF PROCESS
5) THIS COMPLAINT sHALL B£ s£RV£D 0N TH£ DEF£NDANT PURSUANT ro

TENNESSEE CIVIL PROCEDURES RULE 5.2(1) THROUGH THE ATTORNEY Ol"

 

R£coRD. (SEE EleBIT 7)
PROCEDURAL HISTORY

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6) THIS CASE IS AN APPEAL l"ROM A DECISION RENDERED lN DAVIDSON COUNTY

GF.NERAL SEssloNs COURT 0N AUGUST 12, 2014. THE GENERAL SESSIONS
COURT DISMISSED THE cAs£ WITHOUT RENDERING A HoLDlNG. (SEl-: EXHIBlT
l)
]URY DEMAND

7) PURSUANT To FEDF.RAL RULES or CIVIL PRocEDURE #38, PLAlNTIFF sEEl<s

A TRIAL BY }URY.
DE NOVO

8) PLAINTIFF REQUEST THIS C0URT REvll-;W THIS cASE DE Novo. THIS CAsl: ls
AN APPEAL or A DECISION moM DAVIDSON CoUNTY GENERAL S£ssloNs
CoURT. THE cAs£ HAS B££N HLED wlTHlN TH}; 10 DAYS REQUIRED BY LAW

TO APPEAL.

 

 

I~`ACTS

9) ON 9/16/13, PLAINTIFF ENT£RED INT0 AN AGREEMl-:NT wlTH SNAP FITNEss
(A woRKOUT FAcILITY) To UTILIZE TH£ coMPANY’s HTNESS EQulpMENT AND
BUILDING To EXERcls£. (Sx~;£ EXH!BIT 2)

10) PLAINTIFF sIGNED A s£choN or rle coNTRAcT clleG SNAP l-“ITNEss
AUTHoRIzATIoN To AI>PLY TH£ MoNTHLY r£l-; or $16.38 To Hls VIsA
cH£cK/Dl-;BIT cARD lssUED BY ALLY BANK. (SEl-: EXHlBIT 2)

11) PLAINTIFF AT THE TIME or sIGNING THE coNTRAcT ALso APpLI£D THE
ENRoLLMl-:NT I-`F.£ or $89.99 To THE CHEcl< CARD lssU£D BY ALLY BANK.
(S££ EleBlT 2)

lZ)PAYMENTs FOR TH£ CONTRACT occURRED oN THE lST oF EACH MoNTH moM
OCTOBER 2013 - APRIL 2014 IN TH£ AMOUNT or $16.39. $16.38 wAs orr

BY .Ol CENT BFCAU<F THF AGFNT THAT <MQQN_KAWT MISS

 

cALcuLATED TAXES DU£ £ACH MoNTH ($lS/MONTH PLUs TAX = $16.39)

13)ON 5/1/14, PLAINTIFF's VISA CHECI< CARD WAS cHARGED $41.39.

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14) TH£ DIFF£RENcl-: or $25 WAS AN EQUIPMENT ENHANCEMENT FEE THAT
SNAP FITNEss HAD BEGUN cHARGING Nl-;W coNTRAcT CusToM£Rs.

15)PLAINTIF1='5 coNTRAcT DID NoT coNTAIN sUcH A cLAUs£ Bl-;cAUsE 11 wAs
AN oLDER coNTRAcT. (SEE EXHIBIT 2)

16)ON 5/15/14, PLAINTIFF sENT A LETTER 10 SNAP FITNESS To cHANGE
PAYMENT M£THOD 0N THE coNTRAcT AND ACQUIRE A R£FUND FOR THE $25.
(S££ EXHIBIT 8)

17)SNA1> l-`ITNEss coNTAcTED PLAINTIFF wlTHoUT coNTRAcT AT THEIR DIsPosAL
To cLAIM cLAUsE WAs PRESENT To }USTIFY F£E.

18)ON 5/17/14, PLAINTIFF sENT A L£TTER ro SNAP FITNESS ADvlsING THAT
UPoN REvn-;W THERE wAsN’T A cLAUs£ }USTIFYING TH£ $25 H-:E. (SEE
EXHIBIT 9)

19)ON 5/20/14, PLAlNTIFr coNTAcTED ALLY BANK vIA EMAIL To HLE A REG
E CLAIM DUl-; To TH£ AMoUNT WAs 1Nc0RREcT moM SNAP FlTNl-;ss. THl-;
AMOUNT cHARG£D sHoULD HAVE BE£N $16.39 NoT $41.39. (SF.E EXHIBT 3)

20) ON 5/20/14, ALLY BANK RESPONDED BY TELLING THE PLAINTIFF To
coNTAcT Ml-;RCHANT AND REFUSED To FIL£ A Rl-;G E CLAIM. (S£E ExHIBIT
3)

21)ON 5/21/14, PLAlNTlFF sENT L£TTER To SNAP FlTNEss To REcovER FUNDS.
(S£E EXHIBIT 4)

22) SNAP FlTNEss EAsT BRENTWooD OFHCE coNTAcTED PLAINTIFF AND WAs

UNDER 'I`HE IMPRESSION HE HAD A NEW CONTRACT WHICH ALLOWED THE

FEE. PLAINTII"F REVIEWED HIS CONTRACT AND DID NOT I"IND SUCH A CLAUSE.

(SEI-; ixlele 2)
23 ON 5 28 PLAINTIFF CALL£D ALLY B 1< T
sEcoND TIM£. TH£ AG£NT Tool< TH£ 1NF0RMAT10N NEEDED To INmATl-: A

CLAIM.

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24) ON 6/2/14, ALLY FORWARDED A DENlAL LF_TT£R To PLAINTIFF. (SEE

EXHIBIT 5)

25) ALLY cLAIM£D rle cHARGl-: WAS AUTHORIZF_D AND THUS A ”M£RCHANT
DlsI>UT£”. (S£E EXHIBlT 5)

26) ON 6/5/15, PLAINTIFF ronARD£D A LETTl-;R To ALLY BANI< WchH
PRovIDED A coPY or TH£ SNAP FITN£ss CONTRACT wHIcH INchAT£D THE
AMOUNT AUTHORIZ£D BY slGNATUR£ AND sHows No cLAUsE 1N THE
coNTRAcT ron rle $25 ADDITIONAL FEE. (SEl-; EleBIT 16)

27) 0N 6/6/14, PLAINTIFF REQUESTl-;D THl-: DOCUMENTS ALLY BANK USED To
coMl-; To THE coNcLusloN THAT TH£ TRANsAchoN wAs AIJTHORIZED
AND/on USED To D£NY PLAINTlFl-"S R£G E CLAIM. (S££ EXHIBIT 6)

28) To THIS DATE, ALLY BANK HASN'T pROVIDED PLAINT!FF WITH ANY
DocuM£NTs To sATIsFY THE R£QUEST IN PARAGRAPH 23.

29) ON on ARoUND 6/2/14, ALLY BANI< ronARD£D To PLAINTIFF A
VIsA/MC sTAT£MENT oF DlsPUT£ FoRM wHICH PLAlNTIrr CoMPLETED To
Rl~;covl:R THE $25. (S£E EXHIBIT 10)

30) PLAINTIFF's RESEARCH sHoWs THAT Nl-;ITHER A ”M£RCHANT DIsPUTE" on
VIsA/MC DlsPUTE R£QUIRl-;MENTS sATIsFY on ARE Pl-:RMITTED BY Rl-:G E.
(Sl:£ EXHIBIT ll)

31)PLA1NTIFF's RESEARCH moM LoRI MooR£ A cuman R£GULAToRY
COMI>LIANCE MANAGER sTArEs FrHl-; RULl-;s or R£G E As LEARNED moM THE
MARKLF. BANK CASE Do£sN'T ALLOW BANKS To Rl-;LY oN VIsA/MC RULES
wHIcH R£QUlRE MERCHANT BE coNTAcT£D FIRST AR£ NoT Acc£PTABL£
UND£R REG E. (S££ LAST PARAGRAPH oN PAG£ 2 or EXHIBIT ll)

32) PLAINTIFF l~`ILED SUIT AGAINST BOTH ALLY BANI< AND SNAp Fm\n-<q nn
7/1/14 FOR vloLATIoNs or REG E AND R£COVER $25 FF.E. (Sl-:E EXHIBIT
12)

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33) ON 7/8/14, SNAP FITNESS sl-;11LEO 0U1 01 CoURT. (SEE EXHIBIT 13)

34) ON 7/28/14, ALLY BANK sENT PLAINTIFF A L£TTER 51A11NG THAT
PLAINTIFF's cLAIM ls A ”MERCHAN1 DISPUTE" UNDER VlsA AND MASTERCARD
RULES sHOULD 313 Rl-;soLv£D BETWEEN PLAINTIFF AND MERCHANT. IN
ADDITION, ALLY HAD No LEGAL 03LIGA110N 10 RECOGNIZE 1HE cLAIM. (SEl-;
EXHIBI1 14)

35) ALLY FURTHER ADVISED PLAlNTIFr 1HA1 SNAP FlTNl-;ss HAD GIVl-;N 1HEM
A cREDIT 01 $25. (S££ EXHIBIT 14)

36) SNAP FITNESS HAD ALR£ADY sETTLED 1HE AM0UN1 IN olsPUTE 0N THE
8TH or ]uLY. (Sl-;E EXHIBIT 13)

37) ALLY BANK 1N 01>£N cOURT sTAT£D 1HA1 THI-:Y HAD GIvI~:N PLAINTIFF A
PRovlsloNAL canon or $25 0N 011 ARO\JND 6/20/14.

38) PLAINTIFF PRovl-:D mls 10 Bl-; A FALSE s1A11-;M£N1. (SEE ExHIBlT 15)

39) ON 7/31/14, SNAI) l-`ITNESS' AccoUNT I>ERTAINING 10 PLAlNTIFF 010 N01
snow A $50 cREDlT BUT 0NLY A $25 cREDIT. (S££ EXHIBIT 13)

40) BoTH sTAT£MENTs Rl-;GARDING PRovlsIoNAL AND Ac1UAL cREDITs moM
ALLY HAV£ PROV£N 10 Bl~: FALs£. (SE£ EXHIBl1s 13 & 15)

41) AccoRDING 10 ALLY BANK, TH£Y GAVE 1H£ PLAlNTIFF A pnovlsloNAL
clu-;DIT or $25 0N 6/20/14 AND THEN THEY coLL£cTED $25 0N PLA1N1IFr's
Bl-:HALF moM SNAP l-`lTN£ss oN 0R ARouND 7/28/14. (SEE EXHIBIT 14)
BUT THE G£NERAL SEssIoNs CoUR1 ]UDGl-; N01E0 IN 0P1~:N coURT 1HA1 1H1-;
DocUMENTS PRoleED 10 1H£ CoURT BY ALLY BANK AcTUALLY sHOWED A
N01A110N 1HA1 0N 0R AROUND 7/11/14 1HA1 No PRovIsloNAL cREDIT wAs
PROVIDED DUE 10 THE DIsPUTE BEING A ”MERCHANT DIsPUTE". ALso,

_AEEFBMFWAYUNAWNWTHAFSNNPFHNESSHWSENTEWUTTF__
coURT 0N 7/8/14 AND WOULDN'1 HAV£ HAD ANY M011vA110N 10 PAY ANY

 

ADDITIONAL FIJNDS 10 ALLY BANK 0N on ARouND 7/28/14.

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42) ALLY BANI< IN 01>1;N coURT 51A1E0 1HA1 NUMEROUS cHARGEs HAD
occURR£D Bl-;TWEEN 111£ M£RCHAN1 AND PLAINTIFF AND As A RESUL1 or
PREVloUs HlsToRY AND 1115 BANl<'s LACK or KNOWLEDGE As 10 wHAT
AGRE£MENB wl-:R£ 1N PLAC£ BETWEEN 1111; 1W0 1HE 1RANsAc110N 1N
DISPUTE WAS A ”MERCHANT DISPUTE".

43) PLAlNTlFF R£s£ARcHl-:D sTATEMl-:NTS AFTER coURT AND DIscovERED 1HA1
SNAP FITNESS HAD CHARG£D Hls ALLY_ BANK ISSUED CHECK CARD $89.99
wHIcH wAs 1HE coNTRAcT 1N111A110N FEE. (S££ EXHIBIT 2)

44) SNAP l-`11N£ss HAD cHARGl-;D Hls AccoUNT $16.39 0N 1H£ lST or EAcH
MON1H moM 10/13 - 4/14 AND 6/14 - 7/14.

45) SNAP I-`ITNESS ALso cHARG£D A $25 H~;E 0N 0R AROUND 11/6/13 wHIcH
A1 1HIS 11M£ PLAINTIFF HoLDs No RECEIPTS or PURCHASE 0R ANY sIGNED
AU1H0RIZA110N 1011 1115 AMoUNT. (SEE EXHIBIT 17)

46) PLAINTIFF's w11-‘1~: PAssED AWAY 1HA1 Yl-:AR AND PLAINTlFF MAY HAV£
MISSED THIS CHARG£ AND Hls 0PPOR1UN11Y 10 HLE A Rl~:G E CLAIM W11H
ALL 1HA1 WAs GoING 0N. (SEE EXHIBIT 18)

47) G£N£RAL S£ssloNs C0UR1 ]UDGE ADVISED IN 01>EN coURT 1HA1 HE
wAsN'1 vl-;RSED 1N REG E/EFT ACT.

48) }UDG£ DISMISSED PLAlNTIFF's CAsl-;. (SE£ EXHIBIT l)

49) PLAlNTIFF's R£s£ARcH 01 111£ INDUSTRY sHows 1HA1 1111~: BANKING
CoMMuNlTY sAYs 1HA1 Rl-:G E MUST BE roLLow£D AND AN INVESTIGATIQN
wAs WARRANTl-:D. (SEl-; EXHIBIT 19, PAGES 13 ”DEN¥ING ERROR CLAIMS" &
14 ”M£RCHANT DIsPuT£s AR£ N01 ERRORS")

50) AccoRDING 10 PLAINTIFF’s R£s£ARcH moM EXHlBIT 19, A ”M£RCHANT

 

 

_DrspUTELTHyrrjsN'TTOvEREWBH%ETEHAWDU wuu QUALuY AM)

QUANTI'I`Y OI" 'l`HE MERCHANDISE/SERVICE. ANYTHING DEAL[NG WITH THE

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AM0UN1 01 1HE TRANSACTION FALLs UND£R REG E. (SEl-: EXHIBIT 19, PAG£
14)

51)PLA1NTIFF's RESEARCH or THE LAW As LlsTED BY 111£ I-`DIC CoNTAINED N0

EXCEP110N 1HA1 ls B£lNG £MI>LOYED BY ALLY BANK. (SEE EXHlBIT 20)

52) PLAINTIFF HLED 1HIS ACTION IN 0151R1c1 COURT.

REG E VIOLA'I`IONS

53) ALLY BANK HAS ACTED IN VIOLATION OF REG E AGAINST THE PLAINTIFF

IN SEVERAL WAYS ON SEVERAL OCCASIONS WITH EACH GIVING RISE TO ITS
OWN INDIVIDUAL ACTION BUT IN AN l:`.I"l"OR'I` TO NOT OVERBURDEN THE
COURT THE PLAINTIFI" LIS'I`S ALL INFRACTIONS IN THIS CASE INDIVIDUALLY
BU'I` SEEKS COLLECTION Ol" DAMAGES COI.LECTIVELY.

5/20/14 Sl-:PARAT£ lNDIVIDUAL INFRACTIONS

 

54) l. DENIED A BONA FIDE cLAlM - V101A110N or § 908(3)

55) 2. FAIL£D To TIM£LY INvEsTIGAn-; - V101A110N or § 908(3)

56) 3. l-`AIL£D 10 PROVID£ A PRoVIsIoNAL CREDIT - V101A110N 01 §
908(3)(€)

57) 4. FAIL£D 10 CORRECT 1HE ERRoR - VIoLATIoN 01 § 908(3)(3)

58) 5. FAILl-;D 10 PRovID£ AN EXPLANATION or 11s FINDINGS -

VloLA110N or § 908(3)(0)

6/2/14 SEPARAT£ 1N1)1leUAL 1NFRAC110NS

 

59) 1. DENIED A BoNA HDE cLAlM - V101A110N 01 § 908(3)

60) 2. l-`AILED T0 TIM£LY INvEsTIGATE - V101A110N 01-" § 908(3)

61)3. FAlL£D 10 PRoleE A PRovlsloNAL CR£011 - VIoLA110N or §
908(3)(€)

 

 

 

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62 } 4. Pmb%ofomd#rn§lin…mv§_i

908(3)(3)

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63) 5. FA115D 10 PR0v105 A N011€5 05 1H5 RIGHT 10 R5QU551
DocuM5N1s Us5D IN 0515RM1NA110N - VIoLATIoN 05 § 908(3)(0)

6/5/14 S5PARA15 1N01v10UAL INFRACTION

 

64) 1. D5N150 A BoNA 1105 cLAIM - VIOLA110N 05 § 908(3)

65) 2. FAILED T 0 T1M5LY INV5STIGA15 - V101A110N 05 § 908(3)

66) 3. FA!L5D 10 PROVIDE A `PRovlsloNAL CREDIT - VIOLA110N 05 §
908(3)(€) .

67) 4. l-`AIL£D 10 CoRR£cT 1H5 ERRoR - VIOLA110N 05 § 908(3)(3)

68) 5. FA155D 10 PROVIDE AN 5XPLANA110N 05 11s HNDINGS -

V101.A110N 05 § 908(3)(0)

6/6/14 S£PARAT£ INDIVIDUAL INFRA5110N

 

69) l. I-`A1150 10 sUPPLY DocUM£NTs 11550 IN 1Nv55110A110N upoN
REQUEST - VIOLA110N 05 § 908(3)(0)
CLASS ACTION
70) BECAUS£ 11115 15 A sYSTEMIC POLICY EMPLOYED BY ALLY BANI<,
PLAINTIFF BELIEVES 1H5R5 ARE MOR5 INDIVIDUALS A5550150 AND 1HUS
sHALL 35 MAI<ING A M0110N W11H 1H5 coURT 50R CLAss ACTION 51A1Us
sHoRTLY.
THE COURT'S POWER TO GRANT RELIEF
71)P11RSUAN1 10 § 916(<;) 1HIS COUR1 HAS 1115 P0W5R 10 GRANT R55155.
PRAYS FOR RELIEF

WHEREFORE, 1H5 PLA1N1155, SHAWNELLIAS BURG5ss, PURSUANT 10

REGULATION E AND 'l`HE COURT'S OWN EQUITABLE POWERS, REQUESTS THIS

COURT:

 

 

 

1. AWARD PLA1N1155 $16,000 ($l,OOO/EACH 1NDIleUALLY Ac110NABL5

VIOLA110N 05 REG E)

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2. AWARD PLA1N1155 TREBLE DAMAGES PURSUANT 10 § 908(5)

3. AWARD PLA1N1155 CoURT COSTS 5ROM GEN5RAL SEssloNs CoURT IN
1H5 AMOUNT 05 $111.75 (S55 EXHIBI1 12)

4. AWARD PLA1N1155 1H5 cosT 05 BRINGING 1HIS ACTION

5. AWARD PLA1N1155 R5A50NABLE A110RN5Y 5555, As WELL As sUcH
01H5R AND ADDITIoNAL R51155 As 1H5 C011R1 MAY 0515RM1N5 10 135

]UST AND PROPER.

RESPECTFULLY sUBMITT 1HIS 1H5 15TH DAY 05 AUGUST, 2014 BY:

SHAWN£LLIAS BURGESS - PRO 55

 

3040 CO0Y HlLL ROAD
NAsHVlLLE, TN 37211
Qertifiea!ea£$erviee

This is 10 certify ihat a copy of The following Complaim` has been served by first-class mail on

8/|5/|4 upon:

D. l-liat'r Col|ins
GulleH Sanford Robinson 81 Mar’rin, PLLC
l50 Third Ave. gouih, Suite 1700

 

 

Nashvi|le, TN 3720| /
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